     Case 2:24-cr-00091-ODW    Document 162-1 Filed 11/05/24    Page 1 of 1 Page ID
                                        #:2004


1                        UNITED STATES DISTRICT COURT
2                       CENTRAL DISTRICT OF CALIFORNIA

3                                   ****
4    UNITED STATES OF AMERICA, )
                                    )
5                   Plaintiff,      )
6                                   )   CASE NO. 2:24-CR-00091-ODW
     v.                             )
7                                   )
8    ALEXANDER SMIRNOV,             )
                                    )
9                   Defendant,      )   [PROPOSED] ORDER
10   _______________________________)
11          Upon reviewing Defendant’s Motion to Dismiss the Indictment due to
12
     Discovery Violations, and reviewing the Government’s Opposition to that Motion,
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14   it is hereby:
15          ORDERED that Defendant’s Motion to Dismiss is GRANTED, and that the
16
     Indictment (ECF No. 1, Feb. 14, 2024) is DISMISSED with prejudice.
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18          IT IS SO ORDERED.
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            _____________________           ____________________________
21
            DATE                             HONORABLE OTIS D. WRIGHT II
22                                           UNITED STATES DISTRICT JUDGE
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